
Compas Medical, P.C., as Assignee of Grandoit, Andre, Appellant, 
againstAmerican Transit Ins. Co., Respondent.




The Rybak Firm, PLLC (Damin J. Toell, Esq.), for appellant.
Law Office of Jason Tenenbaum, P.C. (Jason Tenenbaum, Esq.), for respondent.

Appeal from an order of the Civil Court of the City of New York, Queens County (William A. Viscovich, J.), entered June 30, 2014. The order denied plaintiff's motion for summary judgment and granted defendant's cross motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which denied plaintiff's motion for summary judgment and granted defendant's cross motion for summary judgment dismissing the complaint. 
Defendant's cross motion for summary judgment was based upon the defense, among others, that defendant had not received timely notice of the accident (see 11 NYCRR § 65-1.1). Contrary to plaintiff's sole argument on appeal with respect to that defense, the Civil Court correctly granted defendant's cross motion for summary judgment dismissing the complaint, as the proof submitted by defendant established that it had not received timely notice of the accident, which proof was not rebutted by plaintiff.
We reach no other issue.
Accordingly, the order is affirmed. 
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
Paul Kenny
Chief Clerk
Decision Date: September 08, 2017










